                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                           Civil Action No. 1:12-cv-00313-MR


BUCKEYE FIRE EQUIPMENT COMPANY,                  )
an Ohio Corporation,                             )
                                                 )        ANSWER, AFFIRMATIVE
                Plaintiff,                       )            DEFENSES AND
                                                 )         COUNTERCLAIMS OF
                v.                               )        DEFENDANTS TYCO FIRE
                                                 )        PRODUCTS, LP AND ADT
TYCO FIRE PRODUCTS, LP, a Delaware               )             SERVICES AG
limited partnership, and ADT SERVICES,           )
AG, a Swiss corporation,                         )
                                                 )
                Defendants.                      )

                Defendants, Tyco Fire Products, LP (“Tyco Fire”) and ADT Services AG

(“ADT”) (collectively, “Defendants”) by and through their attorneys, provide the following

Answer, Affirmative Defenses and Counterclaims to Plaintiff Buckeye Fire Equipment

Company‟s (“Buckeye” or “Plaintiff”) Complaint, as follows:

                                          ANSWER
                              (Response to Numbered Paragraphs)

                Defendants deny each and every allegation contained in Plaintiff‟s Complaint,

including its prayers for relief, except those that have been expressly admitted herein.

Defendants further respond to the specific allegations of Plaintiff‟s Complaint, in accordance

with the order and number of the paragraphs in which they are set out, as follows:

       1.       Defendants admit this action purports to be an appeal of a final decision of the

United States Patent and Trademark Office Trademark Trial and Appeal Board (“TTAB”) that

rendered a decision in favor of Tyco Fire and against Buckeye, sustaining the opposition to

Buckeye‟s application. Except as expressly admitted, the allegations contained in Paragraph 1

are denied.



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      2.       Defendants admit the allegations contained in Paragraph 2.

      3.       Defendants admit the allegations contained in Paragraph 3.

      4.       Defendants admit the allegations contained in Paragraph 4.

      5.       Defendants admit the allegations contained in Paragraph 5.

      6.       Defendants admit the allegations contained in Paragraph 6.

      7.       Defendants admit the allegations contained in Paragraph 7.

      8.       Defendants admit only that Plaintiff is the listed owner of record for U.S.

Trademark Application Serial No. 77/693,791 for the mark KITCHEN GUARD (“the „791

Application”). By way of further response, the allegations of Paragraph 8 contain conclusions

of law to which no response is required. To the extent any response may be required, the

allegations are denied. Except as expressly admitted, the allegations contained in Paragraph 8

are denied.

      9.       Defendants admit the allegations contained in Paragraph 9.

      10.      Defendants admit the allegations contained in Paragraph 10.

      11.      Defendants admit the allegations contained in Paragraph 11.

      12.      Defendants admit, only, that the parties exchanged discovery, that Defendants

submitted testimony and exhibits to the TTAB, and that each party submitted trial briefs to the

TTAB. Defendants further admit that Plaintiff relied upon the exhibits and testimony proffered

by Defendants in support of Plaintiff‟s trial brief. Except as expressly admitted, the allegations

contained in Paragraph 12 are denied.

      13.      Defendants deny the allegations contained in Paragraph 13. By way of further

response, the allegations of Paragraph 13 contain conclusions of law to which no response is

required. To the extent any response may be required, the allegations are denied.




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       14.     Defendants admit the allegations contained in Paragraph 14. By way of further

response, Defendants subsequently refer herein to the August 1, 2012 TTAB decision as “the

TTAB Decision.”

       15.     Defendants deny the allegations contained in Paragraph 15. By way of further

response, the TTAB Decision speaks for itself and the allegations of Paragraph 15 contain

conclusions of law to which no response is required. To the extent any response may be

required, the allegations are denied.

       16.     Defendants deny the allegations contained in Paragraph 16. By way of further

response, the TTAB Decision speaks for itself and the allegations of Paragraph 16 contain

conclusions of law to which no response is required. To the extent any response may be

required, the allegations are denied.

                              PLAINTIFF’S CAUSE OF ACTION

       17.     Defendants‟ responses to Paragraphs 1 through 16 above are incorporated by

reference as if set forth herein.

       18.     Defendants deny the allegations contained in Paragraph 18. By way of further

response, the allegations of Paragraph 18 contain conclusions of law to which no response is

required. To the extent any response may be required, the allegations are denied.

       19.     Defendants admit the allegations contained in Paragraph 19.

       20.     Defendants admit the allegation contained in Paragraph 20.

       21.     Defendants deny the allegations contained in Paragraph 21. By way of further

response, the TTAB Decision speaks for itselfand the allegations of Paragraph 21 contain

conclusions of law to which no response is required. To the extent any response may be

required, the allegations are denied. Except as expressly admitted, the allegations contained in

Paragraph 21 are denied.


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       22.       Defendants admit the allegations contained in Paragraph 22 to the extent Plaintiff

has elected to appeal the TTAB Decision by bringing this civil action under 15 U.S.C. §

1071(b). By way of further response, the allegations of Paragraph 22 contain conclusions of

law to which no response is required. To the extent any response may be required, the

allegations are denied. Except as expressly admitted, the allegations contained in Paragraph 22

are denied.

       23.       Defendants deny the allegations contained in Paragraph 23. By way of further

response, the allegations of Paragraph 23 contain conclusions of law to which no response is

required. To the extent any response is required, the allegations are denied.

                                  AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

       Plaintiff‟s Complaint fails to state a claim for relief upon which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE

       Plaintiff‟s claim is barred by the equitable doctrines of waiver, laches, estoppel and/or

unclean hands.

                               THIRD AFFIRMATIVE DEFENSE

       Plaintiff is not entitled to some or all of the relief sought.

                       RESERVATION OF AFFIRMATIVE DEFENSES

       Defendants reserve all affirmative defenses under Rule 8(c) of the Federal Rules of Civil

Procedure and any other defenses, at law or in equity, that may be available now or that may

become available in the future, based on discovery or other factual investigation of this case.




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                   DEFENDANT, TYCO FIRE’S FOURTH DEFENSE AND
                       COUNTERCLAIMS AGAINST BUCKEYE

       Defendant, Tyco Fire believes it has been and will continue to be damaged by: (1)

Plaintiff‟s continued use of the mark KITCHEN GUARD for fire extinguishers; and (2) by the

issuance to Plaintiff of a federal registration for the mark of the „791 Application; and alleges as

follows:

                                  NATURE OF THE ACTION

       1.        This is an action for trademark infringement, false designation of origin, and

unfair competition under the Lanham Act (15 U.S.C. §§ 1114, 1116, 1117 and 1125, et seq.)

and the common law of North Carolina, and for unfair and deceptive trade practices in violation

of N.C. Gen. Stat. § 75-1.1., et seq.

                                 JURISDICTION AND VENUE

       2.        This Court has subject matter jurisdiction under 15 U.S.C. § 1121 (action arising

under the Lanham Act); 28 U.S.C. § 1331 (federal question); 28 U.S.C. § 1332(a) (diversity of

citizenship between the parties); 28 U.S.C. § 1338(a) (any Act of Congress relating to patents or

trademarks); 28 U.S.C. § 1338(b) (action asserting claim of unfair competition joined with a

substantial and related claim under the trademark laws); and 28 U.S.C. § 1367 (supplemental

jurisdiction).

       3.        This Court has personal jurisdiction over Buckeye because, among other things, it

submitted to this Court‟s jurisdiction by filing the Complaint in this Court.

       4.        Venue is proper in this District because, among other things, Buckeye consented

to venue in this District by filing its Complaint in this District.




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             Tyco Fire’s K-GUARD® and KITCHEN ONE® Fire Extinguishers

      5.       Tyco Fire is an internationally known and well-recognized provider of fire

detection, protection, and suppression products (“fire suppression products”).

      6.       Tyco Fire has been providing fire suppression products for use in homes and

businesses throughout the United States, and internationally, since the 1940‟s.

      7.       Tyco Fire produces a wide variety of globally recognized fire suppression

products and markets and sells them under a number of leading brands, including the brands

Ansul and Pyro-Chem.

      8.       Among the many fire suppression products Tyco Fire offers are fire extinguishers.

      9.       Tyco Fire markets and sells its fire extinguishers under several well-recognized

trademarks, including under the marks K-GUARD® and KITCHEN ONE® (collectively,

“KITCHEN Marks”).

      10.      Tyco Fire sells its K-GUARD® branded fire extinguisher through its Ansul

division. See Exhibit 1.

      11.      Tyco Fire sells its KITCHEN ONE® branded fire extinguisher through its Pyro-

Chem division. See Exhibit 2.

      12.      There is little discernible difference between the fire extinguishers sold under

Tyco Fire‟s KITCHEN Marks, except for the respective product labeling.             Both the K-

GUARD® and KITCHEN ONE® trademarks are affixed to their respective products with an

adhesive label that also includes instructions for use.

      13.      The fire extinguishers sold under Tyco‟s KITCHEN Marks are hand-held,

portable fire extinguishers designed to extinguish kitchen grease and cooking fires, fires




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involving cooking equipment, and fires caused by the types of oils and greases commonly found

in kitchens.

      14.      The type of cooking or grease fires Tyco Fire‟s KITCHEN Marks-branded

extinguishers are designed to extinguish are referred to in the fire protection industry as Class

“K” fires.

      15.      The fire extinguishers sold under Tyco Fire‟s KITCHEN Marks use a wet

chemical extinguishing agent contained in the extinguisher and expelled onto the fire and

cooking equipment to smother the fire.

      16.      The fire extinguishers sold under Tyco Fire‟s KITCHEN Marks are designed to

be used by non-firefighting professionals, and can be used by any person, including kitchen

personnel, that witnesses a cooking or grease fire.

      17.      The fire extinguishers sold under Tyco Fire‟s KITCHEN Marks are placed in

clear, plain view in cooking environments, and are widely used in restaurant kitchens and other

commercial settings.

      18.      Tyco Fire has taken steps to protect its KITCHEN Marks and is the owner of

record for U.S. Federal Trademark Registrations No. 2,398,376 for the mark K-GUARD® and

Reg. No. 2,870,427 for the mark KITCHEN ONE®, both for portable fire extinguishers in

International Class 9.

      19.      Tyco Fire‟s KITCHEN Marks are incontestable and, by virtue of Tyco Fire‟s

significant, continuous, and substantially exclusive use in commerce over at least the last ten

years, are widely known and recognized by consumers.




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                  Buckeye and Buckeye’s Selection of KITCHEN GUARD

      20.     Buckeye is a direct competitor of Tyco Fire and also provides fire suppression

products to homes and businesses.

      21.     Buckeye‟s fire suppression products include fire extinguishers and fire

extinguisher systems designed to suppress kitchen or cooking fires.          Buckeye‟s fire

extinguishers use a similar wet chemical agent and are likewise classified to fight Class “K”

fires. See Exhibit 3.

      22.     One of the wet chemical based fire extinguishers Buckeye offers is marketed

under the mark KITCHEN GUARD.

      23.     The mark KITCHEN GUARD was developed by Buckeye employee, William

Vegso.

      24.     Prior to working for Buckeye, Mr. Vegso was employed by Pyro-Chem as a

general sales and marketing manager and was an employee of Pyro-Chem when the company

was purchased by Tyco International and made a division of Ansul, Inc.

      25.     Mr. Vegso remained employed by Pyro-Chem until Tyco International closed

Pyro-Chem‟s facility in New Jersey. Thereafter, Mr. Vegso became employed by Buckeye.

      26.     Mr. Vegso was aware of Tyco Fire‟s KITCHEN Marks prior to his development

of the KITCHEN GUARD mark for Buckeye.

      27.     Upon information and belief, Buckeye and Mr. Vegso specifically and

intentionally selected the mark KITCHEN GUARD for Buckeye‟s fire extinguisher, with prior

knowledge of Tyco Fire‟s KITCHEN Marks, and with the intent to trade on the goodwill

associated with Tyco Fire‟s KITCHEN Marks. Buckeye‟s adoption of the KITCHEN GUARD

mark constitutes intentional direct copying of Tyco Fire‟s KITCHEN Marks.




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                      Buckeye’s Infringing Use of KITCHEN GUARD

      28.     Upon information and belief, Buckeye sells its KITCHEN GUARD fire

extinguishers through its wholly owned subsidiary Shield Fire Protection.

      29.     Buckeye‟s KITCHEN GUARD fire extinguisher is advertised as being designed

for use against cooking oil and grease fires. See Exhibit 4.

      30.     The KITCHEN GUARD fire extinguisher is advertised as using the same wet

chemical agent that is used in extinguishers for deep fat fryers in commercial kitchens. See

Exhibit 4.

      31.     Buckeye advertises the KITCHEN GUARD fire extinguisher and the wet

chemical agent it contains as being “…recommended by the NFPA [National Fire Protection

Association] for tackling cooking oil fires in commercial kitchens.” See Exhibits 5-6.

      32.     The KITCHEN GUARD fire extinguisher is also advertised as being tested for

application to Class K cooking oil fires. See Exhibit 6.

      33.     The KITCHEN GUARD fire extinguisher also appears in advertising as the

KGUARD Kitchen Guard fire extinguisher. See Exhibit 7.

      34.     The KITCHEN GUARD fire extinguisher is also referred to by its Model# -

“KGUARD” in internet advertising. See Exhibit 7.

      35.     Upon information and belief, Buckeye intends to continue to manufacture,

advertise, promote, sell and/or offer to sell wet chemical – Class K fire extinguishers under the

intentionally infringing mark KITCHEN GUARD.

      36.     Buckeye‟s past and continued use of the name and mark KITCHEN GUARD for

fire extinguishers is likely to cause confusion or mistake, or to deceive consumers and others, as




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to the source and/or quality of the KITCHEN GUARD fire extinguisher, or that the KITCHEN

GUARD fire extinguisher is sponsored or somehow affiliated with Tyco Fire.

      37.       Buckeye has knowingly and intentionally, or with willful disregard to Tyco Fire‟s

rights, been engaging, in bad faith, in the above-referenced infringing activities for the purpose

of trading on the goodwill and reputation of Tyco Fire and Tyco Fire‟s well-recognized

KITCHEN Marks.

      38.       As a result of Buckeye‟s above-referenced activities, Tyco Fire has suffered and

is suffering irreparable injury, has substantial damages, and has no adequate remedy at law.

                                       COUNT I
        False Designation of Origin & Unfair Competition Under the Lanham Act
                                 15 U.S.C. § 1125 et seq.

      39.       Tyco Fire hereby incorporates by reference Paragraphs 1 through 38 of its

Counterclaims above as though fully set forth at length.

      40.       Tyco Fire is the owner of all right and title to its KITCHEN Marks.

      41.       Tyco Fire‟s KITCHEN Marks are incontestable and, by virtue of Tyco Fire‟s

continuous, extensive, and substantially exclusive use throughout the United States of its

KITCHEN Marks for the past decade, are well known and recognized by consumers.

      42.       Buckeye‟s adoption of the confusingly similar mark KITCHEN GUARD for its

own fire extinguishers is a misappropriation of Tyco Fire‟s registered KITCHEN Marks.

      43.       Buckeye‟s manufacture, distribution, and sale of a fire extinguisher under the

mark KITCHEN GUARD is likely to cause confusion, cause mistake or otherwise deceive

consumers as to the affiliation, connection, or association of Buckeye with Tyco Fire, or as to

the origin, sponsorship of approval by Tyco Fire of Buckeye‟s KITCHEN GUARD fire

extinguisher.




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      44.    Buckeye‟s use of the KITCHEN GUARD mark, and its continued manufacture,

distribution, and sale of KITCHEN GUARD fire extinguishers is enabling Buckeye to unfairly

benefit from Tyco Fire and the success of the fire extinguishers sold under Tyco Fire‟s

KITCHEN Marks.

      45.    Buckeye‟s use of the KITCHEN GUARD mark, and its continued manufacture,

distribution, and sale of KITCHEN GUARD fire extinguishers constitutes unfair competition

and false designation of origin under the Lanham Act.

      46.    Buckeye knew of Tyco Fire‟s prior and subsisting use of Tyco Fire‟s KITCHEN

Marks when Buckeye intentionally adopted use of, and submitted its application for registration

of the mark KITCHEN GUARD for fire extinguishers.

      47.    Buckeye‟s continued use of the KITCHEN GUARD mark for fire extinguishers is

intentional and without regard to Tyco Fire‟s longstanding and prior rights in Tyco Fire‟s

KITCHEN Marks.

      48.    Upon information and belief, Tyco Fire believes Buckeye has profited by virtue

of its infringement of Tyco Fire‟s KITCHEN Marks.

      49.    Tyco Fire has sustained damages as a direct and proximate cause of Buckeye‟s

continued use of the mark KITCHEN GUARD for Buckeye‟s fire extinguishers.

      50.    Tyco Fire has been and will continue to be irreparably harmed and damaged, and

its incalculable goodwill will be continually eroded by Buckeye‟s conduct and continuing

infringement, and Tyco Fire lacks an adequate remedy at law to compensate for this continuing

harm and damage.




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      51.     Accordingly, Tyco Fire is entitled to judgment on the claims set forth above and

an award of injunctive relief, damages, lost profits, attorneys‟ fees and costs, treble damages

and prejudgment interest in accordance with 15 U.S.C. §§ 1116 and 1117.

                                      COUNT II
                 Federal Trademark Infringement Under The Lanham Act
                                15 U.S.C. § 1114 et seq.

      52.     Tyco Fire hereby incorporates by reference Paragraphs 1 through 51 of its

Counterclaims above as though fully set forth at length.

      53.     Tyco Fire is owner of all right and title to its KITCHEN Marks.

      54.     Buckeye‟s adoption of the confusingly similar mark KITCHEN GUARD for fire

extinguishers has and is infringing Tyco Fire‟s use of its registered KITCHEN Marks for

portable fire extinguishers.

      55.     Buckeye‟s use of the KITCHEN GUARD mark for fire extinguishers is likely to

cause confusion, cause mistake, or otherwise deceive consumers to believe that Buckeye‟s fire

extinguishers bearing the KITCHEN GUARD mark originate from or are approved, associated

with, sponsored by or in some manner connected to Tyco Fire.

      56.     Buckeye‟s manufacture, distribution, and sale of the KITCHEN GUARD fire

extinguisher is unfairly benefitting Buckeye by allowing Buckeye to trade on Tyco Fire‟s

reputation and success, giving Buckeye and its infringing product commercial value it would

not otherwise have.

      57.     Buckeye‟s unauthorized use of the infringing KITCHEN GUARD mark is likely

to deceive or cause confusion or mistake among consumers as to the origin, sponsorship or

approval of Buckeye‟s KITCHEN GUARD fire extinguisher and/or to cause confusion or




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mistake as to any affiliation, connection or association between Tyco Fire and Buckeye, in

violation of the Lanham Act.

      58.     Upon information and belief, Buckeye‟s infringement of Tyco Fire‟s KITCHEN

Marks as described above has been and continues to be intentional, willful and without regard to

Tyco Fire‟s rights in its KITCHEN Marks.

      59.     Upon information and belief, Buckeye has gained profits through its infringement

of Tyco Fire‟s KITCHEN Marks.

      60.     Tyco Fire has sustained damages as a direct and proximate result of Buckeye‟s

infringement of Tyco Fire‟s KITCHEN Marks.

      61.     Tyco Fire has suffered and is suffering irreparable harm from Buckeye‟s

infringement of Tyco Fire‟s KITCHEN Marks as Buckeye‟s infringement continues to erode

Tyco Fire‟s incalculable goodwill in its KITCHEN Marks. Tyco Fire has no adequate remedy

at law to compensate for the loss of its business reputation, customers, market position, and

goodwill from Buckeye‟s infringing activities.

      62.     Accordingly, and because Buckeye‟s actions have been committed with the intent

to damage Tyco Fire and to confuse the public, Tyco Fire is entitled to an injunction against

Buckeye‟s continuing infringement of Tyco‟s KITCHEN Marks and an award of Buckeye‟s

profits, treble Tyco‟s actual damages, costs, and attorneys‟ fees in accordance with 15 U.S.C. §§

1116 and 1117.

                                       COUNT III
                         Common Law Trademark Infringement
                       Under the Laws of the State of North Carolina

      63.     Tyco Fire hereby incorporates by reference Paragraphs 1 through 62 of its

Counterclaims above as though fully set forth at length.




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      64.    Tyco Fire has prior rights in Tyco Fire‟s KITCHEN Marks.

      65.    Buckeye‟s adoption and use of the mark KITCHEN GUARD in connection with

fire extinguishers is infringing Tyco Fire‟s KITCHEN Marks.

      66.    Buckeye‟s unauthorized adoption and use of the mark KITCHEN GUARD is

likely to cause confusion, cause mistake, or otherwise deceive consumers as to the affiliation,

connection or association of Buckeye with Tyco Fire, or as to the origin, sponsorship, or

approval of Tyco Fire of Buckeye‟s goods and/or commercial activities.

      67.    Buckeye‟s use of the infringing KITCHEN GUARD mark enables Buckeye to

unfairly benefit from Tyco Fire‟s reputation and success, thereby giving Buckeye‟s infringing

mark sales or commercial value it would not otherwise have.

      68.    Buckeye was aware of Tyco Fire, Tyco Fire‟s business, and Tyco Fire‟s

KITCHEN Marks well prior to Buckeye‟s adoption and use of the infringing KITCHEN

GUARD mark.

      69.    Upon information and belief, Buckeye‟s infringement of Tyco Fire‟s KITCHEN

Marks described above has been and continues to be intentional, willful, and without regard to

Tyco Fire‟s rights in its KITCHEN Marks and related common law trademark rights.

      70.    Upon information and belief, Buckeye has gained profits by virtue of its

infringement of Tyco Fire‟s KITCHEN Marks and related common law trademark rights.

      71.    Tyco Fire has sustained damages as a direct and proximate result of Buckeye‟s

infringement of Tyco Fire‟s KITCHEN Marks and related common law trademark rights.

      72.    Tyco Fire has suffered and will continue to suffer irreparable harm to Tyco Fire‟s

KITCHEN Marks, Tyco Fire‟s related common law trademark rights, and the associated

goodwill, all as a result of Buckeye‟s infringing use of the KITCHEN GUARD mark. Tyco




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Fire has no adequate remedy at law to compensate it for its loss of business reputation,

customers, market position, and goodwill flowing from Buckeye‟s infringing activities, such

that Tyco Fire is entitled to an injunction against Buckeye‟s continuing infringing activities.

                                        COUNT IV
                             Common Law Unfair Competition
                        Under the Laws of the State of North Carolina

       73.     Tyco Fire hereby incorporates by reference Paragraphs 1 through 72 of its

Counterclaims above as though fully set forth at length.

       74.     The foregoing acts of Buckeye constitute unfair competition in violation of the

common law of the State of North Carolina.

       75.     Upon information and belief, Buckeye has made and will continue to make profits

and gains to which it is not, in law or equity, entitled.

       76.     Upon information and belief, Buckeye intends to continue and expand its

infringing activities, unless restrained by this Court.

       77.     Buckeye‟s infringing acts have damaged, and will continue to damage Tyco Fire,

and Tyco Fire has no adequate remedy at law

                                          COUNT V
                            Unfair and Deceptive Trade Practices in
                             Violation of N.C. Gen. Stat. § 75-1.1

       78.     Tyco Fire hereby incorporates by reference Paragraphs 1 through 77 of its

Counterclaims above as though fully set forth at length.

       79.     The foregoing acts of Buckeye constitute unfair methods of competition in or

affecting commerce and unfair and deceptive acts or practices in and affecting commerce in

violation of N.C. Gen. Stat. § 75-1.1.




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       80.     The foregoing acts of Buckeye have injured and will continue to injure the

goodwill, reputation and business of Tyco Fire.

       81.     As a direct and proximate result of Buckeye‟s unfair and deceptive conduct and

unfair methods of competition, Tyco Fire has suffered and will continue to suffer damages in an

amount to be proved at trial.

       82.     Tyco Fire is entitled to recover treble damages against Buckeye, plus attorneys‟

fees, pursuant to N.C. Gen. Stat. § 75-16.


                                    PRAYER FOR RELIEF

               WHEREFORE, Defendants pray for relief as follows:

       (1)     That judgment be entered in favor of Defendants and against Plaintiff on each of

Plaintiff‟s claims in its Complaint and that the TTAB Decision be upheld;

       (2)     That judgment be entered in favor of Tyco Fire on each of Tyco Fire‟s

Counterclaims;

       (3)     A finding that Plaintiff has committed trademark infringement and unfair

competition in violation of the Lanham Act;

       (4)     That Plaintiff, and its officers, directors, employees, agents, and all those in

privity, concert, or participation with them, be enjoined from using in commerce the terms

KITCHEN GUARD for or in association with fire extinguishers or fire suppression systems;

pursuant to 15 U.S.C. § 1116;

       (5)     That Tyco Fire be awarded damages as a result of Plaintiff‟s wrongful conduct;

       (6)     That Tyco Fire be awarded (a) any damages sustained by Defendants as a result of

the acts alleged herein, (b) Plaintiff‟s profits, (c) the costs of the action, and (d) that the Court




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treble or otherwise increase Tyco Fire‟s damages pursuant to 15. U.S.C. § 1117, together with

interest, including pre-judgment, as fixed by the Court;

       (7)     That Tyco Fire be awarded its attorneys‟ fees, costs and expenses pursuant to 15.

U.S.C. § 1117; and

       (8)     That the judgment includes such other and further relief as the Court deems just

and proper.

               Respectfully submitted, this the 5th day of December, 2012.


                               (9)    /s/ Michael G. Adams
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                                 CERTIFICATE OF SERVICE

               I hereby certify that I electronically filed the foregoing Answer, Affirmative

Defenses and Counterclaims of Defendants Tyco Fire Products, LP and ADT Services AG with

the Clerk of Court using the CM/ECF system, which will transmit notification of such filing,

constituting service thereof, to the following:

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       This the 5th day of December, 2012.


                                              /s/ Michael G. Adams
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